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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                      Criminal No. 20-203 (PAM/KMM)


United States of America,

                         Plaintiff,
                                                   MOTION TO RETAIN
v.                                                 ROUGH NOTES


Francisco Manuel Rodriguez Valenzuela,

                         Defendant.




     Defendant Francisco Miguel Rodriguez Valenzuela, by and through his

attorney, Steven J. Wright, respectfully moves the Court for an order requiring

all law enforcement personnel who have worked on this case to preserve and to

continue to preserve all notes and memoranda originally prepared by them,

regardless of the condition of those notes and regardless of whether those notes

have been incorporated into other reports or memoranda that the government

intends to turn over to the defendants. Depending on their contents, these rough

notes may qualify as Brady or Jencks Act material at trial.
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   For the foregoing reasons, Defendant respectfully asks the Court to order law

enforcement to preserve and maintain their rough notes.



                                     Respectfully submitted,

Dated: October 11, 2020              /s/ Steven J. Wright
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                                     Minneapolis, MN 55401
                                     (612) 669-8280

                                     Attorney for Defendant




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